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                                                U.S. Department of Justice


                                                United States Attorney
                                                Eastern District of New York
CCC:APW:ss                                      610 Federal Plaza
F. #2021R00258                                  Central Islip, New York 11722



                                                April 6, 2022


By Email and ECF

Elizabeth E. Macedonio, P.C.
52 Duane Street, 7th Floor
New York, NY 10007

                Re:   United States v. William Maxwell
                      Criminal Docket No. 21-452 (JS) .

Dear Counsel:

               Enclosed please find the government’s discovery in accordance with Rule 16
of the Federal Rules of Criminal Procedure, items Bates numbered WM 000037 through WM
000063. Also enclosed is an index of the discovery. The index will not be filed
electronically. The government also requests reciprocal discovery from the defendant.



                                                Very truly yours,

                                                BREON PEACE
                                                United States Attorney

                                          By:   /s/ Christopher C. Caffarone
                                                Christopher C. Caffarone
                                                Andrew P. Wenzel
                                                Assistant U.S. Attorneys
                                                (631) 715-7868/7832

Enclosures
cc:   Clerk of the Court (JS) (by ECF) (without enclosures)
